Case 0:06-cv-60450-JAL Document 1 Entered on FLSD Docket 04/06/2006 Page 1 of 19



                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORID A

UNITED STATES OF AMERICA,

                    Petitioner,
            v.
                                                               rj~

KIRILL PERCY,                                                    i KLEIi~



                    Respondent .



            PETITION TO ENFORCE INTERNAL REVENUE SUMMONS

     The United States of America, by its attorney, R . Alexander

Acosta, United States Attorney in and for the Southern District

of Florida, avers to this Court as follows :

                                      I

      This proceeding for enforcement of an Internal Revenue

Service summons is brought pursuant to §§ 7402(b) and 7604(a) of

the Internal Revenue Code of 1986 (26 U .S .C .) . This Court has

jurisdiction of this action pursuant to 26 U .S .C . §§ 7402(b) and

7604(a) and 28 U .S .C . §§ 1340 and 1345 .

                                     II

      J . M . Berkowitz is a revenue officer of the Internal Revenue

Service, employed in the Office of the Area Director, Small

Business Self Employed Compliance Division, Internal Revenue

Service, Territory 2, Area 5, with a post of duty in Plantation,

Florida . As a revenue officer, she is authorized to issue
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Internal Revenue Service summons pursuant to the authorit y

contained in 26 U .S .C . §   7602 .

                                       III

      The respondent ,   Kirill Percy ,      currently resides in Aventura ,

Florida, which is within the jurisdiction of this Court .

                                       IV

      Revenue Officer J . M . Berkowitz is conducting a n

investigation for the purpose of determining the federal income

tax liabilities of the respondent            ( Form 1040 )   for the years 2001

and 2003 and for the purpose of inquiring into any offense

connected with the administration or enforcement of the Internal

Revenue laws for the years under investigation .

                                       V

      As part of the investigation ,         on November 12, 2004 ,      Revenue

Officer Berkowitz served an Internal Revenue Service summons

(Form 2039 )   directing the respondent to appear before the revenue

officer, or any other designated agent of the Internal Revenue

Service ,   on November 24, 2004 to give testimony and to produce

for examination and copying certain books ,             records ,   papers, or

other data ,   as described the said summons .           An attested copy of

the summons was served on the respondent by Revenue Officer

Berkowitz on November 12, 2004 ,       by handing an attested copy of

the summons to the person to whom it was directed .                 A copy of th e




                                       2
Case 0:06-cv-60450-JAL Document 1 Entered on FLSD Docket 04/06/2006 Page 3 of 19



summons is attached to the declaration of Revenue Officer

Berkowitz as Exhibit A-1, and incorporated herein by reference .

                                     VI

      On November 24, 2004, the respondent did not appear in

response to the summons .

                                    VII

      On February 1, 2005, the respondent's counsel, Bruce M .

Gottlieb, Esq ., contacted Associate Area Counsel to notify

counsel that he represented the petitioner . On February 8, 2005,

Associate Area Counsel sent a letter to the respondent's counsel

offering the respondent another opportunity to appear, this time

before Revenue Officer Berkowitz on February 23, 2005, to satisfy

the summons . A copy of that letter is attached to th e

declaration as Exhibit A-2 . On February 23, 2005, in response to

this correspondence, the respondent and/or his counsel failed to

appear .

                                    VIII

      The respondent's refusal to comply with the summons wit h

respect to the years 2001 and 2003 continues to the date of this

petition .

                                     IX

      The respondent has in his possession, custody, or contro l

information, books, records, papers, and other data which may b e




                                      3
Case 0:06-cv-60450-JAL Document 1 Entered on FLSD Docket 04/06/2006 Page 4 of 19



relevant and material to the investigation with respect to th e

years 2001 and 2003 .

                                      X

      It is necessary and relevant to obtain the testimony and t o

examine the books, records, papers, and other data sought by the

summons for the years 2001 and 2003 in order to determine the

Federal income tax liabilities of Kirill Percy (Form 1040) for

the years 1996, 2001 and 2003 .

                                     XI

      Except for a Wage Tax Statement (Form W-2) which is in th e

possession of the Internal Revenue Service, the information,

books, records, papers, and other data sought by the summons for

the years 2001 and 2003, inclusive, are not already in the

possession of the Internal Revenue Service .

                                    XII

      All administrative steps required by the Internal Revenue

Code for the issuance of a summons have been taken .

                                    XIII

      A Justice Department referral, as defined by § 7602(c)(2) of

the Internal Revenue Code of 1986, is not in effect as to the

federal income tax liabilities of Kirill Percy for the years 2001

or 2003 .

      WHEREFORE the petitioner, respectfully prays :




                                     4
Case 0:06-cv-60450-JAL Document 1 Entered on FLSD Docket 04/06/2006 Page 5 of 19



      1 . That this Court enter an order directing the respondent

to show cause ,   if any ,   why he should not comply with and obey the

aforementioned summons with respect to Kirill Percy for the tax

years 2001 and 2003 and each and every requirement thereof ;

      2 . That the Court enter an order directing the respondent

to appear before Revenue Officer Berkowitz ,         or any other

designated officer of the Internal Revenue Service at such time

and place as may hereafter be fixed by Revenue Officer J . M .

Berkowitz and/or her designee ,        and to give testimony and produce

for examination and copying the books ,        papers ,   records ,   or other

data concerning Kirill Percy for the tax years 2001 and 2003 as

demanded by the summons ;

      3 . That the United States recover its costs in maintaining

this action ; an d

      4 . That this Court grant such other and further relief as

it deems just and proper ; and

      5 . That this Court further order that petitioner be given

thirty ( 30) days from the date of the order within which to serve

respondent with the same .

                                   R . ALEXANDER ACOSTA
                                   UNITED STATES ATTORNE Y


                                   (
                                       "T"Q,
                                   Marlene Rodriguez, AUS A
                                   99 NE 4th Street , Third Floor
                                   Florida Bar No . : 0120057
                                   Miami, Florida 33132
                                   Telephone Number : 305-961-920 6


                                        5
Case 0:06-cv-60450-JAL Document 1 Entered on FLSD Docket 04/06/2006 Page 6 of 19



                                   Facsimile No . : 305-530-713 9
                                   e-mail : marlene . rodriguez@usdoj .go v




                                      6
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                     UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA,

                    Petitioner,
            v.

KIRILL PERCY,

                    Respondent .


                                DECLARATION

I, J . M . Berkowitz, hereby declare as follows :

      1 . I am a duly commissioned Revenue Officer employed in

the Office of the Area Director, Small Business Self Employed

Compliance Division, Internal Revenue Service, Territory 2, Area

5 in Fort Lauderdale, Florida . As a Revenue Officer I am

authorized to issue Internal Revenue summonses pursuant to the

authority contained in 26 U .S .C ., Section 7602 .

      2 . In my capacity as a Revenue Officer, I am conducting an

investigation for the collection of the federal income tax (Form

1040) liabilities of Kirill Percy for the years 2001 and 2003 .

      3 . In furtherance of the above investigation and in

accordance with section 7602 of Title 26, U .S .C ., I issued on

November 12, 2004, an Internal Revenue Service summons (Form

2039), to Kirill Percy, directing the respondent to appear befor e

me, or any other designated agent of the Internal Revenue

Service, on November 24, 2004 to give testimony and to produc e



                                     -1-
Case 0:06-cv-60450-JAL Document 1 Entered on FLSD Docket 04/06/2006 Page 8 of 19




for examination books, papers, records, or other data as

described in said summons . The summons is attached to the

petition as Exhibit A-l .

      4 . On November 12, 2004, I served an attested copy of the

Internal Revenue Service summons described in paragraph 3 above

on the respondent, Kirill Percy, by handing an attested copy of

the summons to the person to whom it was directed, as evidenced

in the certificate of service on the reverse side of the summons .

      5 . On November 24, 2004, the respondent, Kirill Percy, did

not appear in response to the summons . The respondent's refusal

to comply with the summons continues to the date of this

declaration .

      6 . On January 27, 2005, Associate Area Counsel for the

Internal Revenue Service sent a letter to the respondent offering

the respondent another opportunity to appear on February 23,

2005, to satisfy the summons . A copy of the letter is attached

hereto as Exhibit A-2 . The respondent failed to appear on

February 23, 2005 in response to the letter . The respondent's

refusal to comply with summons with respect to the years 2001 and

2003 continues to the date of this declaration .

     7 . On February 1, 2005, respondent's counsel, Bruce

Gottlieb, contacted the office of the Associate Area Counsel and

was asked to provide a completed Power of Attorney Form 2848

which was received on February 4, 2005 . On February 8, 2005 ,


                                    -2-
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Associate Area Counsel for the Internal Revenue Service sent a

letter to the respondent's counsel offering the respondent

another opportunity to appear on February 23, 2005, to satisfy

the summons . A copy of the letter is attached hereto as Exhibit

A-3 . The respondent failed to appear on February 23, 2005 in

response to the letter .

      8 . The information, books, papers, records, or other data

sought by the summons are not already in the possession of the

Internal Revenue Service .

      9 . It is necessary to obtain the testimony and to examine

the books, papers, records or other data sought by the summons in

order to complete the investigation regarding the collection of

the federal income tax (Form 1040) liabilities of Kirill Percy

for the years 2001 and 2003 .

      10 . All administrative steps required by the Internal

Revenue Code for issuance of a summons have been taken .

      11 . A Justice Department referral, as defined by 26 U .S .C .

Section 7602, is not in effect with respect to Kirill Percy for

the years under investigation .
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       I declare under penalty of perjury that the foregoing i s

 true and correct .
                            -il
       Executed this /            day of                       , 2005 .




                                      Revenue Officer
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                               Summons
In the matter of Kirill Percy , 3201 Ne 183rd St Apt 302 , Aventura , FL 33160

Internal Revenue Service (Division) : Small Business/ Self Employed
Industry/Area (name or number) : Small Business / Self Employed - Non SBSE Field Area
Periods Calendar years ending December 31, 2001 and December 31, 200 3

                                                    The Commissioner of Internal Revenu e
To      Kerill Perc y
At      3201 NE 183rd Street , Apt 302, Aventura , FL 3316 0
You are hereby summoned and required to appear before Judy Berkowitz, an officer of the Internal Revenue Service, to give testimony and to bring with you and
to produce for examination the following books, records, papers, and other data relating to the tax liability or the collection of the tax liability or for the purpose of
,squiring into any offense connected with the administration or enforcement of the internal revenue laws concerning the person identified above for the periods
shown .


   All application forms, documents or any other papers that you completed for this condo association .




                                                                    Do not write in this space




Business address and telephone number of IRS officer before whom you are to appear :
  7850 SW 6th Court, Plantation, FL 33324 954-423-709 3

Place and time for appearance at :                       7850 SW 6th Court, Plantation, FL 3332 4

0-0                               on the 24th day of November , 2004 at 8 :30 o'clock A m .

r0 IRS
Department of the Treasury
                                  Issued under authority of the Internal Revenue Code this                           day of    2Z, 6 ,
I nternal Revenue Se rv ice
www .irs .gov                                                                                                            Revenue Office r
                                                  ignature o ssuing officer                                                     Title
Form 2039(Rev . 12-2001 )
Catalog Number 21405J

                                            Signature of Approving Officer (if applicable)                                      Title


                                                                                                                                           Original -- to be kept by IRS
              Case 0:06-cv-60450-JAL Document 1 Entered on FLSD Docket 04/06/2006 Page 12 of 19


                  Service of Summons , Notice
                  and Recordkeeper Certificate s
                  (Pursuant to section 7603, Internal Revenue Code )

I certify that I served the summons shown on the front of this form on :
  Date                                                             Time
                                                                                    1 C' ✓ -/' "
                               I certify that I handed a copy of the summons, which contained the attestation required by
                     1 • ~\ § 7603, to the person to whom it was directed .
      How                     I certify that I left a copy of the summons, which contained the attestation required by
  Summons            2    ❑      7603, at the last and usual place of abode of the person to whom it was directed . I left
                              le copy with the following person (if any) :
      Was
    Served                    I certify that I sent a copy of the summons, which contained the attestation required by
                     3.   ❑   § 7603, by certified or registered mail to the last known address of the person to whom it
                              was directed, that person being a third-party recordkeeper within the meaning of § 7603(b) .
                              I sent the su m mons to the following address:
  Signature                                                      Titl e


 4 . This certificate is made to show compliance with           whether or not records of the business transactions or
 IRC Section 7609 . This certificate does not apply             affairs of an identified person have been made or
 to summonses served on any officer or employee                 kept.
 of the person to whose liability the summon s
 relates nor to summonses in aid of collection, to               I certify that, within 3 days of serving the summons, I
 determine the identity of a person having a                    gave notice (Part D of Form 2039) to the person
 numbered account or similar arrangement, or to                 named below on the date and in the manner indicated .
 determin e

Date of giving Notice :                                                    Time :

Name of Noticee :

Address of Noticee (if mailed) :

                 ❑
            I gave notice by certified or registered   ❑ I gave notice by handing it to the noticee .
            mail to the last known address of th e
    How noticee .                                      ❑ In the absence of a last known address of
   Notice                                                  the noticee, I left the notice with the person
    Was   ❑ I left the notice  at the  last  and   usual summonsed       .
   Given    place of abode of the noticee . I left
            the copy with the following person (if     ❑ No notice is required .
            any) .
 Signature                                                        Titl e


I certify that the period prescribed for beginning a proceeding to quash this summons has expired and that
no such proceeding was instituted or that the noticee consents to the examination .
  Signature                                       Title


                                                                                                   Form 2039 (Rev . 12-2001)
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                           DEPARTMENT OF THE TREASURY
                              INTERNAL REVENUE SERVICE
                                   OFFICE OF CHIEF COUNSE L
                     SMALL BUSINESS/SELF -EMPLOYED DIVISION COUNSEL
                       1000 S . PINE ISLAND ROAD , SUITE 300 , STOP 8100
                                  PLANTATION , FLORIDA 3332 4
                                         (954) 423-7931
                                       FAX (954) 423-7930
                                                            CC :SB :3 :FTL :GL-104905-04
 JAN 272005                                                 NJKI ah r

 Kirill Percy, Esq .
 3201 N .E . 183rd Street, Apt . 302
 Aventura, FL 3316 0

   In re : U .S . Individual Income Tax Return (Form 1040)
           Tax Years : 2001 and 200 2
           Date Summons Served : November 12, 2004
           Appearance Date : November 24, 200 4

 Dear Mr . Percy :

      We have been notified that you did not comply with the above
 summons requiring you to give testimony or produce documents .

       Legal proceedings in the United States District Court may be
 brought against you for the failure to comply . To avoid such
 proceedings, you should keep the appointment that has been
 arranged with the Revenue officer identified on the attached
 sheet . You should bring to the address listed on the attached
 sheet, at the date and time shown, all documents and records
 specified in the summons .

      If you have any questions, please contact the                        Revenue
 Officer whose name appears on the attached sheet .

                                          Sincerely ,

                                          DONALD L . KORB
                                          Chief Counse l
                                          Internal Revenue Servic e




                                   By :     ;     4'        r.'
                                          KENNETH A . HOCHMAN
                                          Associate Area Counsel (SBSE)
 Enclosure                                IRS ID#58-06770
 Cc : R .O . J . Berkowitz
Case 0:06-cv-60450-JAL Document 1 Entered on FLSD Docket 04/06/2006 Page 14 of 19




                                   DEPARTMENT OF THE TREASURY
                                      INTERNAL REVENUE SERVIC E
                                           OFFICE OF CHIEF COUNSE L
                             SMALL BUSINESS/SELF - EMPLOYED DIVISION COUNSEL
                               1000 S . PINE ISLAND ROAD , SUITE 300 , STOP 8100
                                          PLANTATION , FLORIDA 3332 4
                                                 (954) 423-7931
        iL"
         L n"                                  FAX (954 ) 423-7930
FEB $           ,J J
                                                                     CC :SB :3 :FTL : GL-104905-04
                                                                     NJKlah r

 Bruce M . Gottlieb, Esq .
 125 North 45 Avenue
 Hollywood, FL 3302 1

    In re : Kirill Perc y
                       U .S . Individual Income Tax Return (Form 1040)
                       Tax Years : 2001 and 200 2
                       Date Summons Served : November 12, 2004
                       Appearance Date : November 24, 200 4

 Dear Mr . Gottlieb :

      We have been notified that your client did not comply with
 the above summons requiring him to give testimony or produce
 documents .

      Legal proceedings in the United States District Court may be
 brought against your client for the failure to comply . To avoid
 such proceedings, your client should keep the appointment that
 has been arranged with the Revenue Officer identified on the
 attached sheet . Your client should bring to the address listed
 on the attached sheet, at the date and time shown, all documents
 and records specified in the summons .

      If you have any questions, please contact the Revenue
 Officer whose name appears on the attached sheet .

                                                  Sincerely ,

                                                  DONALD L . KORB
                                                  Chief Counse l
                                                  Internal Revenue Servic e




                                           By :   ~,     l   Z
                                            KENNETH A . HOCHMA N
                                            Associate Area Counsel (SBSE)
 Enclosure IRS                            ID#58-0677 0
 Cc : R .O . J . Berkowitz
Case 0:06-cv-60450-JAL Document 1 Entered on FLSD Docket 04/06/2006 Page 15 of 19




 Revenue Officer :            J . M . Berkowit z


Address :                          Internal Revenue Service
                                   7850 S .W . 6th Court
                                   Plantation, Florida 3332 4

 Phone :    (954)            423-7093

Appointment date :     February        23,     20054

Appointment time :            9 :40 AM
Case 0:06-cv-60450-JAL Document 1 Entered on FLSD Docket 04/06/2006 Page 16 of 19




 Revenue Officer :            J . M . Berkowit z



 Address :                         Internal Revenue Service
                                   7850 S .W . 6th Court
                                   Plantation, Florida 3332 4

 Phone :     (954)           423-7093

Appointment date :     February        23,     20054

Appointment time :             9 :40 AM
Case 0:06-cv-60450-JAL Document 1 Entered on FLSD Docket 04/06/2006 Page 17 of 19



                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORID A




 UNITED STATES OF AMERICA,

                     Petitioner,
            v.

 KIRILL PERCY,

                     Respondent .


                            ORDER TO SHOW CAUS E

      Upon the Petition of the United States of America, by its

 attorney, R . Alexander Acosta, United States Attorney for the

 Southern District of Florida, and the declaration of Revenue

 Officer J . M . Berkowitz of the Internal Revenue Service and the

 exhibits attached thereto, it i s

      ORDERED that Kirill Percy shall, appear before the United

 States District Court for the Southern District of Florida,

 presided over by the undersigned in his or her courtroom in the

 United       States        Courthouse           in    ,   Florida,

 on     the        day        of      ,    at      ,    to      sho w

 cause why he should not be compelled to obey the Internal Revenue

 Service summons served upon him on November 12, 2004 .

      It is further



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       ORDERED that a copy of this Order ,      together with th e

 Petition and Exhibits thereto, be personally served upon Kiril l

 Percy on or befor e

 and

       ORDERED that within five days of service of copy of this

 Order, the Petition and Exhibits, the respondent shall file and

 serve a written response to the Petition .

       DATED             at        ,     this              day        of




                                    UNITED STATES DISTRICT JUDG E

 Copies to :   AUSA Marlene Rodriguez    ( 305-530-7139)
              Case 0:06-cv-60450-JAL Document 1 Entered on FLSD Docket 04/06/2006 Page 19 of 19
                                                                                                                                              J

 Q.JS 44 (Rev . 11/04)                                                           CIVIL COVER SHEETO
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
 by local rules of court . This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiatin g
 the civil docket sheet . (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM . )

 1 . (a) PLAINTIFF S
 UNITED STATES OF AMERIC A



       (b) County of Residence of First Listed Plaintif
                                                     f                                                            County of Residence of First Listed Defendant                   Dad e
                                   (EXCEPT IN U .S . PLAINTIFF CASES )                                                                   (IN U .S . PLAINTIFF CASES ONLY)
                                                                                                                          NOTE : INLAND CONDEMNATION CASES, USE THE LOCATION OF THE
       (C) Attorney's (Firm Name. Address, and Telephone Number)                                                          TRACT OF LAND INVOLVED .

 Marlene Rodriguez, AUSA, 99 NE 4th Street, Third Floor, Miami, Florid a                                                  Attorneys (If Known )
 33132 . 305-961-9206 .
                               .


   (d) Check County Where Action Arose : ❑ DADE                      ❑ MONROE EBROWARD                 ❑ PALM BEACH        ❑ MARTIN        ❑ ST. LUCIE ❑ INDIAN RIVEtt QOKE

 It . BASIS OF JURISDICTION ( Place an "X" in One Box Only )                                           III . CITIZENSHIP OF PRINCIPAL PA lace an °X" m One Box for Plaintiff
                                                                                                               (For Diversity Cases Only)           and One Box for Defendant )
)0 1       U .S . Government              ❑3      Federal Ques ti o n                                                                      PTF        DEF                PTF                            DEF
              Plain ti ff                            (U .S . Government Not a Party)                      Citizen of This State            ❑ I ❑ I Incorporated or Principal Place                      ❑ 4 ❑ 4
                                                                                                                                                     of Business In This Stat e

❑ 2        U.S . Government               ❑4       Diversity                                              Citizen of Another State         ❑ 2      ❑    2 Incorporated and Principal Place             ❑   5   ❑   5
             Defendant                                                                                                                                         of Business In Another State
                                                     (Indicate Citi zenship of Parties in Item 111 )

                                                                                                          Citizen or Subject of a          ❑ 3      ❑    3 Foreign Nation                               ❑   6   ❑ 6
                                                                                                             Fo reign Country

IV . NATURE OF SUIT (Place an "X" in One Box Oni
            CONTRACT                                                 TORTS                                FORFEITUREIPENALTY                            BANKRUPTCY                        OTHER STATUTE S

❑ 110 Insurance                           PERSONAL INJURY                     PERSONAL INJURY             ❑   610 Agriculture                 ❑ 422 Appeal 28 USC 158              ❑   400 State Reapportionment
❑ 120 Marine                          ❑    310 Airplane                    ❑ 362 Personal Injury -        ❑   620 Other Food & Drug           ❑ 423 Withdrawal                     ❑   410 Antitrus t
❑ 130 Miller Act                      ❑    315 Airplane Product                 Med. Malpractice          ❑   625 Drug Related Seizure             28 USC 157                      ❑   430 Banks and Banking
O 140 Negotiable Instrument                   Liability                    ❑ 365 Personal Injury -               of Property 21 USC 881                                            ❑   450 Commerce
❑ 150 Recovery of Overpayment         ❑    320 Assault, Libel &                 Product Liability         ❑   630 Liquor Laws                    PROVE RTY IGHTS                   ❑   460 Deportation
     & Enforcement of Judgment                Slander                      ❑ 368 Asbestos Personal        ❑   640 R .R . & Truck              ❑ 820 Copyrights                     ❑   470 Racketeer Influenced an d
❑ 151 Medicare Act                    ❑    330 Federal Employers'               Injury Product            ❑   650 Airline Regs.               ❑ 830 Patent                                Corrupt Organization s
❑ 152 Recovery of Defaulted                   Liability                         Liability                 ❑   660 Occupational                ❑ 840 Trademark                      ❑   480 Consumer Credi t
     Student Loans                    ❑    340 Marine                       PERSONAL PROPERTY                    Safety/Health                                                     ❑   490 Cable/Sat T V
     (Excl . Veterans)                ❑    345 Marine Product              ❑ 370 Other Fraud              ❑   690 Other                                                            ❑   810 Selective Service
❑ 153 Recovery of Overpayment                 Liability                    ❑ 371 Truth in Lending                                                                                  ❑   850 Securities/Cornmodities /
      of Veteran's Benefits           ❑    350 Motor Vehicle               ❑ 380 Other Personal           ❑   710 Fair Labor Standards        ❑   861 I- HA (1395ff)                      Exchange
❑ 160 Stockholders' Suits             ❑    355 Motor Vehicle                    Property Damage                  Act                          ❑   862 Black Lung (923)             ❑   875 Customer Challenge
❑ 190 Other Contract                          Product Liability            ❑ 385 Property Damage          ❑   720 Labor/Mgmt . Relations      ❑   863 DIWCIDIW W (405(g))                  12 USC 341 0
❑ 195 Contract Product Liability      ❑    360 Other Personal                   Product Liability         ❑   730 Labor/Mgmt.Reporting        ❑   864 SSID Title XVI               ❑   890 Other Statutory Action s
❑ 196 Franchise                               Injury                                                             & Disclosure Act             ❑   865 RSI (405(g))                 ❑   891 Agricultural Acts
     REAL PROPERTY                           CIVIL RIGHTS                   PRISONER PETITIONS            ❑   740 Railway Labor Act               FEDERAL TAX SUITS                ❑   892 Economic Stabilization Ac t
❑ 210 Land Condemnation               ❑    441 Voting                      ❑  510 Motions to Vacate       ❑   790 Other Labor Litigation      $t 870 Taxes (U .S. Plaintiff        ❑   893 Environmental Matter s
❑ 220 Foreclosure                     ❑    442 Employment                        Sentence                 ❑   791 Empl . Ret . Inc.                  or Defendant)                 ❑   894 Energy Allocation Ac t
❑ 230 Rent Lease & Ejectment          ❑    443 Housing/                       Habeas Corpus :                    Security Act                 ❑ 871 IRS-Third Party                ❑   895 Freedom of Informatio n
❑ 240 Torts to Land                           Accommodations               ❑ 530 General                                                             26 USC 7609                          Ac t
❑ 245 Tort Product Liability          ❑    444 Welfare                     ❑ 535 Death Penalty                                                                                     ❑   900Appeal of Fee Determinatio n
❑ 290 All Other Real Properly         ❑    445 Amer. w/Disabilities -      ❑ 540 Mandamus & Other                                                                                         Under Equal Access
                                              Employment                   ❑ 550 Civil Rights                                                                                             to Justice
                                      ❑    446 Amer. w/Disabilities -      ❑ 555 Prison Condition                                                                                  ❑   950 Constitutionality of
                                              Other                                                                                                                                       State Statute s
                                      ❑    440 Other Civil Right s


V . ORIGI N      (Place an "X" in One Box Only)                                                                                                                                                 Appeal to District
                                                                     Transferred fro m                                                                                                    O 7 Judge fro m
XI   Original 2 Removed from 3 Remanded from 4 Reinstated or 5 another district O 6 Multidistrict                                                                                               Magis trate
           Proceeding              S tate Court                           Appellate Cou rt Reopened (soecify)                                                        Litigation                 J udgment
                                           (Cite the U .S . Civil Statute under which you are filing and Write a Brief Statement of Cause ( Do not cite ju ri sdictional statutes unless diversity) :

VI . CAUSE OF ACTION                           26 USC 7402( b) and 7604(a) -- Petition to Enforce IRS Summon s
                                           LENGTH OF TRIAL via_ days estimated (for both sides to tr y entire case)

VII . REQUESTED IN  ❑ CHECK IF THIS IS A CLASS ACTION                                                         DEMANDS                                     CHECK YES only if demanded in complaint.
      COMPLAINT : UNDER F . R .C .P. 23                                                                                                                   JIJRY DEMAND :                  ❑ Yes 'N o

VIII . RELATED CASE(S)
                                                  (See instructions ):
           IF AN Y                                                         JUDGE                                                                  DOCKET NUMBE R

DATE SIGNATURE OF ATTORNEY OF RECORD



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